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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
YELLOW PAGES PHOTO, INC.
Plaintiff,
Vv. CASE NO. 8:16-cv-01068-JDW-AEP
DEX MEDIA, INC.
Defendant. /

 

DEFENDANT DEX MEDIA, INC.’S
WRITTEN DESIGNATION AND CONSENT TO ACT

Defendant Dex Media, Inc., by and through undersigned counsel, and pursuant to Local
Rule 2,02(a)(1) moved by separate motion for the Special Admission of Non-Resident Attorney
Kuangyan Huang. Mr. Huang and his designated resident counsel hereby file their Written
Designation of Resident Counsel and Consent to Act.

WRITTEN DESIGNATION

1. Mr. Huang designates Gary R. Trombley and Ronald P. Hanes of the law firm
Trombley & Hanes, P.A. as the resident attorneys in the above-styled case pursuant to Local
Rule 2.02(a}(1).

2. All notices and papers may be served on Gary R. Trombley and Ronald P. Hanes,
who have accepted designation and consent to act herein.

3. Mr. Huang has complied with both the fee and email registration requirements of
Local Rule 2.01(d).

CONSENT TO ACT

 
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Gary R. Trombley and Ronald P. Hanes are members in good standing of the Middle
District of Florida and hereby accept designation and consents to act as local counsel pursuant to
Local Rule 2.02(a)(1) for attorney Kuangyan Huang and as counsel for Defendant Dex Media,
Inc., thereby consenting to the service of all papers and notices herein and acknowledging
responsibility as local counsel for the progress and trial of this matter in default of the non-
resident attorney.

WHEREFORE, pursuant to Local Rule 2.02(a)(1), Dex Media, Inc. and undersigned
counsel respectfully request Kuangyan Huang’s special admission to practice in this case.

Respectfully Submitted,

By: /s/ Gary R. Trombley

Gary R. Trombley

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By:/s/ Ronald P. Hanes

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Counsel for Defendant Dex Media, Inc.

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 31° day of August 2016, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the parties of record.

/s/ Gary R. Trombley
GARY R. TROMBLEY
